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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA


                                                      CASE No. 1:19-MJ-
                                              /                     »

MATTHEW JOHN McCORMACK,
                       Defendant.



                         AFFIDAVIT IN SUPPORT OF A SUMMONS

                                       I. INTRODUCTION

       1, Special Agent Milton Barnes, of the Pentagon Force Protection Agency (PFPA), Threat

Management Unit(TMU),at the Pentagon in Arlington, Virginia, having been duly sworn, state

the following:

        1.1 am a Special Agent with the PFPA TMU. I have been a Special Agent at PFPA

TMU since April, 2018. My duties include conducting criminal investigations, threat analysis,
and performing law enforcement and security related functions for property occupied by, and

under the jurisdiction, custody, and control ofthe Department of Defense that is located in the

National Capital Region. Before becoming a Special Agent, I was a Pentagon Police Officer for

approximately twenty-eight(28) months and prior to that, I was a Correctional Officer with the

Bureau of Prisons for approximately eleven (II) months.

       2. This affidavit is submitted in support of a summons to compel the appearance of
MATTHEW JOHN McCORMACK,to answer to the charges that on or about October 15, 2019,
at the Pentagon, in the Eastern District of Virginia, he did knowingly, intentionally and
unlawfully steal and convert to his use and gain, property of the United States Department of
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